36 F.3d 1114
    NOTICE: Federal Circuit Local Rule 47.6(b) states that opinions and orders which are designated as not citable as precedent shall not be employed or cited as precedent.  This does not preclude assertion of issues of claim preclusion, issue preclusion, judicial estoppel, law of the case or the like based on a decision of the Court rendered in a nonprecedential opinion or order.Cecil R. GRAY, Petitioner,v.DEPARTMENT OF the AIR FORCE, Respondent.
    No. 94-3215.
    United States Court of Appeals, Federal Circuit.
    Aug. 26, 1994.
    
      60 M.S.P.R. 311.
      MOTION GRANTED.
      ON MOTION
      ORDER
      LOURIE, Circuit Judge.
    
    
      1
      Upon consideration of the unopposed motion of the Merit Systems Protection Board to remand Cecil R. Gray's petition for review for adjudication on the merits.
    
    IT IS ORDERED THAT:
    
      2
      The motion is granted.
    
    